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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                 Filed and Entered
                                                                                                     On Docket
                                                                                                 February 28, 2019


In re:
         Hubert Wiggs                                                                       Case Number: 18−21473 jjt
         Debtor*                                                                            Chapter: 7




                                    NOTICE OF NEED TO FILE PROOF OF CLAIM
                                         DUE TO RECOVERY OF ASSETS



   NOTICE IS GIVEN THAT:

   The initial notice in the this case instructed creditors that it was not necessary to file a proof of claim. Since that
notice was sent, assets have been recovered by the trustee.

   Creditors who wish to share in any distribution of funds must file a proof of claim with the Clerk of the bankruptcy
court at the address below on or before:

                                                                5/29/19

   Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate.

   You will need to file a Proof of Claim Form. A Proof of Claim form ("Official Form B 410") can be obtained at the
United States Courts Web site: (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any
bankruptcy clerk's office. The Proof of Claim form may be filed by regular mail. If you wish to receive proof of its
receipt by the bankruptcy court, enclose a photocopy of the proof of claim together with a stamped, self−addressed
envelope.

   There is no filing fee for filing a proof of claim.

   Any creditor who has filed a proof of claim already need not file another proof of claim.

*Government agencies who wish to file a proof of claim should do so on or before the date listed above or
within 180 days after the date the Order for Relief was entered, whichever is the latter.

Dated: February 28, 2019                                                                     BY THE COURT



                                                                                               Myrna Atwater
                                                                                               Clerk of Court



United States Bankruptcy Court                                                      Tel. (860) 240−3675
District of Connecticut                                                             VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                          * Voice Case Information System
Hartford, CT 06103                                                                  http://www.ctb.uscourts.gov
                                                                                    Form 119 −
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
